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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                             UNITED STATES DISTRICT COURT                             November 15, 2022
                              SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


STEPHEN BARBEE,                                 §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:21-CV-03077
                                                §
BRYAN COLLIER, et al.,                          §
                                                §
        Defendants.                             §

                           AMENDED PRELIMINARY INJUNCTION

       In accordance with the Memorandum and Order issued this same day, the following

preliminary injunction is hereby entered:

       Texas [TDCJ] may proceed with the execution of Stephen Barbee only after it
       publishes a clear policy that has been approved by its governing policy body that
       (1) protects Stephen Barbee’s religious rights in the execution chamber pursuant to
       the Court’s holdings in its Memorandum and Order and the holding and spirit of
       Ramirez v. Collier, 142 S. Ct. 1264 (2022); and, (2) sets out any exceptions to that
       policy, further describing with precision what those exceptions are or may be.

       It is so Ordered.

       SIGNED on November 15, 2022, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




1/1
